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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

VICTORIA WINN and THADDEAUS WINN,
individually and as parents and natural
guardians of their minor child, RAFE WINN,

                       Plaintiffs,

vs.                                                  No. 2:14-CV-01113-JAP-SMV

CARLSBAD MEDICAL CENTER LLC, ON-
LINE RADIOLOGY MEDICAL GROUP INC.,
and PECOS VALLEY OF NEW MEXICO,
LLC

                       Defendants.

           THIRD AMENDED COMPLAINT FOR MEDICAL NEGLIGENCE,
              RESPONDEAT SUPERIOR, PERSONAL INJURIES AND
                   VIOLATIONS OF UNFAIR PRACTICES ACT

       COME NOW the Plaintiffs, Victoria Winn and Thaddeaus Winn, individually and as parents

and natural guardians of their minor child, Rafe Winn, by and through their attorney of record, Will

Ferguson & Associates (Robert C. Gutierrez) and pursuant to the Federal Rules of Civil Procedure,

hereby state for their third amended complaint the following:

1.     Plaintiffs hereby amend by Interlineation paragraph #8 of their SECOND AMENDED

COMPLAINT FOR MEDICAL NEGLIGENCE, RESPONDEAT SUPERIOR, PERSONAL INJURIES

AND VIOLATIONS OF UNFAIR PRACTICES ACT (doc#26) to add the following sentence at the

end of paragraph #8: “ Based upon Defendant PECOS VALLEY OF NEW MEXICO LLC’S

STIPULATION OF CITIZENSHIP OF ALL ITS MEMBERS (doc#47), Plaintiffs affirmatively allege

that ALL Members of the Defendant Pecos Valley of New Mexico LLC were NOT citizens of the

state of New Mexico at the time Plaintiffs filed their Second Amended Complaint For Medical


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Negligence on April 17, 2015 (doc#26)”.

2.     Plaintiffs make no other changes or additions to their Second Amended Complaint ( doc#26),

but re-allege and incorporate herein as though set forth their entire SECOND AMENDED

COMPLAINT FOR MEDICAL NEGLIGENCE, RESPONDEAT SUPERIOR, PERSONAL INJURIES

AND VIOLATIONS OF UNFAIR PRACTICES ACT (doc#26).



                                                    Respectfully submitted;

                                                    WILL FERGUSON & ASSOCIATES

                                                      /s/Robert C. Gutierrez
                                                    ROBERT C. GUTIERREZ
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